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  Plaintiff Opp. Ex. 9
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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA



 UNITED STATES INSTITUTE OF PEACE, et al.,

                  Plaintiffs,

                                                              Case No. 1:25-cv-00804-BAH
 v.


 KENNETH JACKSON, et al.,

                  Defendants.



                            DECLARATION OF ALLISON BLOTZER

      I, Allison Blotzer, declare under penalty of perjury, under 28 U.S.C. § 1746, that the following

is true and correct:

         1.      I served as the Chief Financial Officer (CFO) for the United States Institute of Peace

(USIP) beginning in December 2024.

         2.      In my capacity as CFO, I oversaw USIP’s financial assets including the USIP and

USIP Endowment’s bank accounts, USIP’s use of funds, and audits of USIP’s financial

information.

         3.      It is USIP’s practice to disburse biweekly payroll to its employees from a

commercial bank account held by USIP, using a commercial payroll broker.

         4.      USIP provides private, commercially sourced retirement plans and health and life

insurance to its eligible employees.
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       I declare under penalty of perjury under the laws of the District of Columbia that the

foregoing declaration is true and correct.

Dated this 16th of April, 2025, and executed in Washington, D.C.
Signed: /s/ Allison Blotzer

Print Name: Allison Blotzer




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